      Case 8:19-cv-00676-JLS-KES Document 13 Filed 05/09/19 Page 1 of 2 Page ID #:104

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                  for the
                                                        Central District
                                                    __________  District of
                                                                         of California
                                                                            __________

                        Crorama, Inc.                               )
                                                                    )
                                                                    )
                                                                    )
                            Plaintiff(s)                            )
                                                                    )
                                v.                                          Civil Action No. 8:19-cv-00676-JLS-kes
                                                                    )
   JANNETTE DOMINGUEZ and CHOUDHRY M.                               )
                HASSAN                                              )
                                                                    )
                                                                    )
                           Defendant(s)                             )

                                                    SUMMONS IN A CIVIL ACTION
                                           ON FIRST AMENDED COMPLAINT
To: (Defendant’s name and address) CHOUDHRY M. HASSAN
                                   6713 FRESH POND ROAD
                                   RIDGEWOOD, NEW YORK 11385-4505




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:

                                           Manning & Kass Ellrod Ramirez Trester, LLP
                                           19800 MacArthur Boulevard Suite 900
                                           Irvine, CA 92612


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

                                                                               Kiry Gray
                                                                               CLERK OF COURT
                                                               Jenny

Date:     May 9, 2019                                                           /s/   Jennylam
                                                                                           Signature of Clerk or Deputy Clerk
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 Civil Action No. 8:19-cv-00676-JLS-kes

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

            I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

            I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

            I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

            I returned the summons unexecuted because                                                                              ; or

            Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
